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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK
_______________________________________________

UNITED STATES OF AMERICA,
                                                                       21-CV-6323
              -v-

$8.040 UNITED STATES CURRENCY,

                  Defendant.
_______________________________________________


                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that she is an employee of the United States
Attorney's Office for the Western District of New York and is a person of such age and
discretion as to be competent to serve papers.
       On June 14, 2021, she served a copy of the following documents:

       1. Verified Complaint for Forfeiture;
       2. Arrest Warrant in Rem; and
       3. Direct Notice of Forfeiture Action

by Fed Ex, by placing said copies in a postage-paid envelope addressed to the person
hereinafter named, at the place stated below, in the custody and care of Fed Ex.


ADDRESSEE:

 Cristal Starling
 466 ½ W. Main St.,
 Apartment 401
 Rochester, NY 14608

Dated: July 26, 2021                             s/Kianna Farrell
                                                 Kianna Farrell
